       Case: 1:23-cv-05459 Document #: 43 Filed: 12/19/24 Page 1 of 8 PageID #:313




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 AMERICAN EAGLE LEESBURG AL, LLC,
 a Florida limited liability company; and
 AMERICAN EAGLE LEESBURG MC, LLC,
 a Florida limited liability company,

                Plaintiffs,                           Case No. 23 CV 5459

 vs.                                                  Hon. Jorge L. Alonso

 ILLUMINATE HC, LLC, an Illinois limited
 liability company; YAIR ZUCKERMAN, an
 adult individual; and HARRY SCHAYER, an
 adult individual,

                Defendants.



               MOTION FOR ENTRY OF MEMORANDA OF JUDGMENT

         NOW COMES plaintiffs/judgment creditors American Eagle Leesburg AL, LLC and

American Eagle Leesburg MC, LLC (collectively, “Plaintiff”) by and through their undersigned

attorneys, and pursuant to 735 ILCS 5/12-502, moves this Court for the entry of memoranda

relative to the Amended Judgment [Dkt. No. 35] (the “Judgment”) previously entered against

defendants/judgment     debtors   Illuminate   HC,    LLC    (“Illuminate”),   Yair   Zuckerman

(“Zuckerman”), and Harry Schayer (“Schayer” and collectively with Zuckerman, the

“Guarantors”) (Illuminate, Zuckerman and Schayer are collectively referred to herein as

“Defendants”). In support of said motion, Plaintiff states as follows:

         1.    On October 29, 2024, the Court entered the Judgment against Defendants. Dkt. No.

35.




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         2.     In relevant part, Section 12-502 of the Illinois Code of Civil Procedure provides

that

         Upon filing in the office of the recorder in any county of this State of a transcript,
         certified copy or memorandum of a judgment entered in this State by a court of the
         United States, such judgment shall be a lien upon the real estate of the person
         against whom the same is entered, in the county where filed, in like manner as
         judgments of courts of this State. The term “memorandum” as used in this Section
         means a memorandum or copy of the judgment signed by a judge of the court
         entering it and showing the court in which entered, date, amount, case number of
         the case in which entered, name of the party in whose favor and name of the party
         against whom entered…

735 ILCS 5/12-502

         3.     In light of the foregoing, Plaintiff respectfully requests entry of the memoranda of

judgment attached hereto as Exhibits A (relative to Illuminate), B (relative to Zuckerman), and C

(relative to Schayer).

          WHEREFORE, Plaintiff respectfully requests the following relief: (1) entry of the

memoranda of judgment attached hereto as Exhibits A, B, and C; and (2) such further and

additional relief as this Court deems just and appropriate.

 Jerry L. Switzer, Jr. (ARDC No. 6210229)              Respectfully submitted,
 Nathan B. Grzegorek (ARDC No. 6306078)                AMERICAN EAGLE LEESBURG AL, LLC AND
 Polsinelli PC                                         AMERICAN EAGLE LEESBURG MC, LLC
 150 N. Riverside Plaza, Suite 3000
 Chicago, IL 60606                                     By:     /s/ Jerry L. Switzer, Jr.
 Telephone: 312.819.1900                               One of Its Attorneys
 Facsimile: 312.819.1910
 Email: NGrzegorek@Polsinelli.com;                     Dated: December 19, 2024
 jswitzer@polsinelli.com;
 ChicagoDocketing@polsinelli.com




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            EXHIBIT “A”
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MEMORANDUM OF JUDGMENT
State of Illinois )
                  ) SS
County of Cook    )

 AMERICAN EAGLE
 LEESBURG AL, LLC, a Florida
 limited liability company; and
 AMERICAN EAGLE
 LEESBURG MC, LLC, a Florida
 limited liability company,
          Plaintiffs,
                                                             Recorder’s Stamp
 v.
 ILLUMINATE HC, LLC, an
 Illinois limited liability company;
 YAIR ZUCKERMAN, an adult
 individual; and HARRY
 SCHAYER, an adult individual,
          Defendants.


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                       Case No. 23 CV 5459
                              MEMORANDUM OF JUDGMENT
        I certify that on October 29, 2024, judgment was entered in this court in favor of the
Plaintiffs, American Eagle Leesburg AL, LLC and American Eagle Leesburg MC, LLC, and
against the Defendant, Illuminate HC, LLC, whose address is c/o Incorp Services, Inc., Registered
Agent, 901 S. 2nd St., Ste. 201, Springfield, IL 62704, in the amount of $631,817.62, plus post-
judgment interest, attorneys’ fees and costs.

 DATE:
                                                 Judge

 POLSINELLI PC
 150 N. Riverside Plaza, Suite 3000
 Chicago, IL 60606
 (312) 819-1900 - Telephone
 (312) 819-1910 - Facsimile
 ARDC No. 6306078




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            EXHIBIT “B”
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MEMORANDUM OF JUDGMENT
State of Illinois )
                  ) SS
County of Cook    )

 AMERICAN EAGLE
 LEESBURG AL, LLC, a Florida
 limited liability company; and
 AMERICAN EAGLE
 LEESBURG MC, LLC, a Florida
 limited liability company,
          Plaintiffs,
                                                             Recorder’s Stamp
 v.
 ILLUMINATE HC, LLC, an
 Illinois limited liability company;
 YAIR ZUCKERMAN, an adult
 individual; and HARRY
 SCHAYER, an adult individual,
          Defendants.


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                       Case No. 23 CV 5459
                              MEMORANDUM OF JUDGMENT
        I certify that on October 29, 2024, judgment was entered in this court in favor of the
Plaintiffs, American Eagle Leesburg AL, LLC and American Eagle Leesburg MC, LLC, and
against the Defendant, Yair Zuckerman, whose address is 2954 W. Fairwell Ave., Chicago, IL
60645, in the amount of $631,817.62, plus post-judgment interest, attorneys’ fees and costs.

 DATE:
                                                 Judge

 POLSINELLI PC
 150 N. Riverside Plaza, Suite 3000
 Chicago, IL 60606
 (312) 819-1900 - Telephone
 (312) 819-1910 - Facsimile
 ARDC No. 6306078




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            EXHIBIT “C”
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MEMORANDUM OF JUDGMENT
State of Illinois )
                  ) SS
County of Cook    )

 AMERICAN EAGLE
 LEESBURG AL, LLC, a Florida
 limited liability company; and
 AMERICAN EAGLE
 LEESBURG MC, LLC, a Florida
 limited liability company,
          Plaintiffs,
                                                             Recorder’s Stamp
 v.
 ILLUMINATE HC, LLC, an
 Illinois limited liability company;
 YAIR ZUCKERMAN, an adult
 individual; and HARRY
 SCHAYER, an adult individual,
          Defendants.


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                       Case No. 23 CV 5459
                              MEMORANDUM OF JUDGMENT
        I certify that on October 29, 2024, judgment was entered in this court in favor of the
Plaintiffs, American Eagle Leesburg AL, LLC and American Eagle Leesburg MC, LLC, and
against the Defendant, Harry Schayer, whose address is 2902 W. Morse Ave., Chicago, IL 60644,
in the amount of $631,817.62, plus post-judgment interest, attorneys’ fees and costs.

 DATE:
                                                 Judge

 POLSINELLI PC
 150 N. Riverside Plaza, Suite 3000
 Chicago, IL 60606
 (312) 819-1900 - Telephone
 (312) 819-1910 - Facsimile
 ARDC No. 6306078




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